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r IN THE UNITED STATES. DISTRICT COURT SCRA
FOR THE DISTRICT OF PENNSYLVAINA JUN 19 2019
PER —___-eiyTy CLERK
RONALD BLUE WEST

Plaintiff

Civil Action 3-16-cv-02460
Appeal NO. 17-3587

| LEXIS NEXIS LEGAL DEPT
Defendant.

Oe

MOTION TO SEAL OR AMANDE CIVIL CASE 3-16-cv-02460

t .

' NOW COME, Plaintiff Pro Se civil action by Ronald West, a federal a

| federal prisoner, against the United States, brought pursuant to the

| Federal Tort Claims Act ("FTCA"). On August 23, 2017. At this time, I
the Plainitff ask the Court and Lexis Nexis, to Seal or Amand the case
above for personal safety within the ("BOP") while in Federal Custody.

|

Conditions of Confinement

7 Plaintiff ask the Court and Lexis Nexis to Seal or Amend the case” on

the computer for conditions of confinement, security and safety’ reason

under the condition of imprioson. Inmates are “pulling the case from
the computer and puting it out on the compound within FCI-Hazelton"
Plaintiff's background was under the radar, until 2015, thats when S.1.S

release the information to inmates on the compound in FCI-Allenwood PA.

Superior Court of the District of Columbia, did not: put any information

out about plaintiff's background when he was sentence back in 1989. Thats

why plaintiff was under the radar for so long without anyone, knowing about
his history or background within’ the Bureau of Prisons.

 
Case GaSe FUALOLIZASRAK FES uROALTIAEH NIPCIABI1IGRS Ree? of Be 2

Argument

Considering the issue on the complaint and the time Plaintiff will
confine in prison. The information on his background should be under
seal for security and safety of the institution, plainitff is in,
with no problems from inmates or Staff within the Bureau of Prisons.
Then officials in FCI-Allenwood Pa, violated plaintiff's right to
protection when he was reléased form ("SHU") under order from the
Staff in 2015. Plaintiff, asked for protection when he was housed in
FCI-Allenwood Pa, when he was in the ("SHU") doing the time, when he

writen up on a bogus incident report by Staff.

Declaration

‘I Ronald Blue West, declare under the statutes of perjury, in accordance

with the statutes of Title 28 USCA §.1746, that the foregoing is true

and correct to the best of my knowledge by signing name. I make this a
legal and binding document under the Law to grant West's Motion to Seal
or Amend his civil action against thé United States of America, on the

Lexis Nexis, for safety and security reason'in the Bureau of Prison.

 

CERTIFICATE OF SERVICES

The undersigned hereby certifies that he is an inmate in the custody
of the Federal. Bureau of Prisons, Federal Correctional Institution-
Hazelton, West Virginia 26525, and on this 18th day of May 2019, the
Motion to Seal or Amend civil action 3-16-cv-02460 was mailed to the
United States District Court, for the Middle District of Pennsylvania,
P.O. Box 1148, Scranton Pa 18501 and to the Legal Dept of Lexis Nexis
Customer Contract Noties, 94442 Springbora Pike, Miamisburg, Oh 45342

nab lib bol Tess007

Ronald Blue West #11353-007
Federal Correctional Institution
Hazelton, P.O. Box 5000

Bruecton Mills, WV 26525

cc: File

 
 

 

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